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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                        )
    In re:                                                              ) Chapter 11
                                                                        )
    CHARMING CHARLIE HOLDINGS INC., et al., 1                           ) Case No. 19-11534 (CSS)
                                                                        )
                                          Debtors.                      ) (Jointly Administered)
                                                                        )

          NOTICE OF AGENDA OF MATTERS SCHEDULED FOR TELEPHONIC
      HEARING ON DECEMBER 1, 2020 AT 10:00 A.M. (PREVAILING EASTERN TIME)

                       NO MATTERS ARE GOING FORWARD.
        THIS HEARING HAS BEEN CANCELLED AT THE DIRECTION OF THE COURT

CONTINUED MATTERS:

1.           Oracle America Inc.’s Request for Allowance and Payment of Chapter 11 Administrative
             Expenses [Docket No. 822; Filed 11/11/2020]

                    Response Deadline: November 30, 2020 at 4:00 p.m., extended until December
                    21, at 4:00 p.m. for the Debtors

                    Responses Received: None to date.

                    Status:             This matter has been adjourned until the January 11th hearing at
                                        10:00 (ET).




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
      include: Charming Charlie Canada LLC (0693); Charming Charlie Holdings Inc. (6139); Charming Charlie International
      LLC (5887); Charming Charlie LLC (0263); Charming Charlie Manhattan LLC (7408); Charming Charlie USA, Inc. (3973);
      and Poseidon Partners CMS, Inc. (3302). The location of the Debtors’ headquarters is: Charming Charlie, c/o WeWork, 1725
      Hughes Landing Blvd., The Woodlands, Texas 77380.




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Dated: November 24, 2020            /s/ Michael W. Yurkewicz
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